
PER CURIAM.
|, After reviewing the evidence and considering the law, we conclude petitioner is eligible to be conditionally admitted to the practice of law in Louisiana, subject to the following conditions:
*461. Petitioner shall continue to comply with the terms of the recovery agreement she signed with the Lawyers Assistance Program (“LAP”) on November 4, 2015.
2. The period of this conditional admission shall coincide with the period of petitioner’s LAP agreement. However, petitioner’s conditional admission status shall not be terminated until this court so orders.
3. Petitioner shall authorize the Executive Director of LAP to report any violations of the LAP agreement to the Office of Disciplinary Counsel (“ODC”).
4. Upon the expiration of the term of petitioner’s LAP agreement, the Executive Director of LAP shall forward to the ODC (a) a final report of petitioner’s progress and participation in LAP, and (b) a recommendation regarding the need for petitioner’s continued, participation in LAP.
5. Following receipt of the report from LAP, the ODC shall file a report in this court in which it shall recommend whether the conditional admission shall be allowed to terminate or shall be extended.
6. Petitioner shall cooperate with LAP and the ODC, and shall comply with any and all requirements imposed upon her by LAP and the ODC.
| ¡¡Should petitioner fail to make a good faith effort to satisfy these conditions, or should she commit any misconduct during the period of probation, her conditional right to practice may be terminated or she may be subjected to other discipline pursuant to the Rules for Lawyer Disciplinary Enforcement.
CONDITIONAL ADMISSION GRANTED.
